       Case: 1:17-cv-02667 Document #: 26 Filed: 04/27/18 Page 1 of 2 PageID #:472
      Case: 17-3046    Document: 00713207246           Filed: 04/27/2018   Pages: 2



      UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                     Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                           Phone: (312) 435-5850
             Chicago, Illinois 60604                                                 www.ca7.uscourts.gov




                                         NOTICE OF ISSUANCE OF MANDATE
 April 27, 2018


To:            Thomas G. Bruton
               UNITED STATES DISTRICT COURT
               Northern District of Illinois
               Chicago , IL 60604-0000



                                         TRINA L. CARPENTER & FAMILY,
                                         Plaintiff - Appellant

 No. 17-3046                             v.

                                         CITY OF CHICAGO, et. al.,
                                         Defendants - Appellees

 Originating Case Information:

 District Court No: 1:17-cv-02667
 Northern District of Illinois, Eastern Division
 District Judge Gary Feinerman
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  RECORD ON APPEAL STATUS:                                     No record to be returned




NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
will be disposed of.
    Case: 1:17-cv-02667 Document #: 26 Filed: 04/27/18 Page 2 of 2 PageID #:473
   Case: 17-3046    Document: 00713207246           Filed: 04/27/2018   Pages: 2




Please acknowledge receipt of these documents on the enclosed copy of this notice.

                           -----------------------------------




 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                               Received by:


 _________________________                           ____________________________________




 form name: c7_Mandate(form ID: 135)
